                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In Re:                                                                 Chapter: 13
                                                                       Case No.: 21-47581
                                                                       Judge: Tucker
James M. Nagle,
                      Debtor(s)
______________________________/

                                NOTICE OF OBJECTION TO CLAIM OF
                                RMPT TRUST, SERIES 2021 BKM-TT-V
                                       PROOF OF CLAIM #5

    Debtors, through counsel, have filed an objection to the claim of RMPT Trust, Series 2021 BKM-TT-V in this
bankruptcy case.

     Your claim may be reduced, modified, or denied. You should read these papers carefully and discuss them
with your attorney, if you have one.

    If you do not want the court to deny or change your claim, then on or before February 3, 2022 you or your
lawyer must:

    1.      File with the court a written response to the objection, explaining your position at:

                    United States Bankruptcy Court
                    211 West Fort Street, Suite 2100
                    Detroit, MI 48226

            If you mail your response to the court for filing, you must mail it early enough so the court will
            receive it on or before the date stated above.

            You must also mail a copy to:

            HS&A, P.C., 26676 Woodward Ave., Royal Oak, MI 48067;

            Trustee: tammy L. Terry, 535 Griswold, Suite 2100, Detroit, MI 48226;

    2.      Attend the hearing on the objection, scheduled to be held on February 10, 2022, at 9:00 a.m. in
            Courtroom 1925 , United States Bankruptcy Court, 211 West Fort Street, Detroit, Michigan, unless
            your attendance is excused by mutual agreement between yourself and the objector’s attorney.

    If you or your attorney do not take these steps, the Court may deem that you do not oppose the
objection to your claim, in which event the hearing will be canceled, and the objection sustained.

Dated: December 16, 2021
                                                                       __/s/ Marguerite Hammerschmidt___
                                                                       Marguerite A. Hammerschmidt (P53908)
                                                                       Timothy P. Stickradt (P57110)
                                                                       Attorneys for Debtor
                                                                       26676 Woodward Ave.
                                                                       Royal Oak, MI 48067
                                                                       (248) 988-8335
         21-47581-tjt    Doc 33      Filed 12/16/21       Entered 12/16/21 13:11:15            Page 1 of 4
                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


In Re:                                                             Chapter: 13
                                                                   Case No.: 21-47581
                                                                   Judge: Tucker
James M. Nagle,
                      Debtor.
___________________________/

                                OBJECTION TO PROOF OF CLAIM
                               RMPT TRUST, SERIES 2021 BKM-TT-V
                                     PROOF OF CLAIM #5



    Now comes debtor through counsel and states:

    1.      Debtor filed for relief under Chapter 13 on September 22, 2021.

    2.      On December 1, 2021 Secured Creditor, RMTP Trust, Series 2021 BKM-TT-V filed a

            secured proof of claim for a mortgage on the debtor’s residence located at 24048 Huron River

            Dr., Rockwood, MI 48173 in the amount of $121,372.24 with an arrears of $26,638.47.

    3.      According to the Debtor’s records and a trial loan modification that has been entered into

            their presently is no arrears on the mortgage.

    Wherefore, debtors request that the court disallow the Proof of Claim by RMPT Trust, Series 2021

BKM-TT-V.

Dated: December 16, 2021
                                                             /s/ Marguerite Hammerschmidt
                                                             Marguerite A. Hammerschmidt (P53908)
                                                             Timothy P. Stickradt (P57110)
                                                             Attorneys for Debtor
                                                             26676 Woodward Ave.
                                                             Royal Oak, MI 48067
                                                             (248) 988-8335




         21-47581-tjt   Doc 33     Filed 12/16/21     Entered 12/16/21 13:11:15         Page 2 of 4
                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In Re:                                                           Chapter: 13
                                                                 Case No.: 21-47581
                                                                 Judge: Tucker
James M. Nagle,
                Debtor.
___________________________/


                                 PROOF OF SERVICE

        On the 14th day of December 2021, a copy of the Notice of Objection to Claim,
Objection to Proof of Claim and this Proof of Service were mailed by first class service
by placing in a United States Mailbox in the City of Royal Oak or by electronic transfer
to the following:

         U.S. Trustee, 211 West Fort Street, Suite 700, Detroit, MI 48226;

         Tammy L. Terry, 535 Griswold, Suite 2100, Detroit, MI 48226;

         RMPT Trust, Series 2021, BKM-TT-V for Rushmore Loan Management
         Services, P.O. Box 55004, Irvine, CA 92619-2708

                                             _/s/ Marguerite Hammerschmidt_______
                                             Marguerite Hammerschmidt, employee of
                                             HS&A, P.C.




21-47581-tjt     Doc 33    Filed 12/16/21    Entered 12/16/21 13:11:15       Page 3 of 4
                     UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


IN THE MATTER OF:                                          Chapter 13
                                                           Case No.: 21-47581
James M. Nagle,                                            Judge: Tucker
      Debtor.
_______________________/

         ORDER SUSTAINING OBJECTION TO PROOF OF CLAIM #5
                 RMPT TRUST, SERIES 2021 BKM-TT-V


        This matter having come on for hearing before the Court by way of the objection
of the debtor to the allowance of the claim of the above-referenced creditor, service
having been made with notice of hearing allowing a (33) day notice pursuant to
Bankruptcy Rule 3007, a Notice of Objection having been served and a certificate of non-
response having been filed with the court;

       NOW THEREFORE IT IS HEREBY ORDERED THAT;
       The objection to the Proof of Claim filed by the above-referenced creditor is
hereby sustained. To the extent that the Chapter 13 Standing Trustee has previously
made disbursements to such creditor, the Trustee shall not be obligated to recoup same.

      IT IS FURTHER ORDERED AS FOLLOWS: [Only provisions checked
below apply]

       [X]     Claim shall be disallowed

       [ ]     Claim shall be unsecured.

       []      Claim shall be reduced to

       [ ]     Other:




21-47581-tjt   Doc 33     Filed 12/16/21    Entered 12/16/21 13:11:15        Page 4 of 4
